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UNlTED STATES D|STR|CT COURT
|\/|IDDLE D|STR|CT OF FLOR|DA
JACKSONV|LL- D|V|S|ON

Nive| Parts & le_Cl. Co. Plaintiff(s),
-v- Case No. 3:17-cv-‘l46-J-32JRK
Textron, lnc.

Defendant(s)

MED|AT|ON REPORT

ln accordance with the Court’s mediation order(s), a mediation conference was held on

January 16
(E)

(b)

, 20 13 . and the results of that conference are indicated below:

The following individua|s, parties, corporate representatives and/or claims
professionals attended and participated in the mediation conference, and each
possessed the requisite authority:

l:l A|l individual parties and their respective trial counsel

Designated corporate representatives

|:] Required claims professionals

The following individua|s, parties, corporate representatives andl'or claims

professionals failed to appear and/or participate as ordered:
N/A

 

 

 

 

 

 

 

 

 

MED|AT|ON REPORT

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(C)

The outcome of the mediation conference was:

|:|

The case has been completely settled. ln accordance with Local
Rule 9.06(b), lead counsel will promptly notify the Court of settlement
in accordance with Local Rule 3.08 by the filing of a settlement
agreement signed by the parties and the mediator within ten (10)
days of the mediation conference

The case has been partially resolved and lead counsel has been
instructed to file ajoint stipulation regarding those claims which have
been resolved within ten (10) days. The following issues remain for
this Court to resolve:

 

 

 

 

 

The conference was continued with the consent of all parties and
counse|. The mediation conference will be held on a date certain not
later than ten (tO) days prior to the scheduled trial date. Any
continuance beyond that time must be approved by the presiding
Judge. |Vlediation Reports will be filed after additional conferences
are complete.

The parties have reached an impasse.

 

oonethis L__ day ofJanuarv ,20 13 ,in
Atlanta, Georgia , Florida.

 

Signature of Mediator

William H. Needle

Name of N|ecliator

JA|V|S

 

 

1201 W. Peachtree Street NW

Mailing Address

 

 

At|anta GA
city state

30309 404 - 588 - 0900
Zip Telephone Number

 

lVlEDlAT|ON REPORT
{Attachment to lVlecliation Order)(Rev. 7!04)

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